Case 1:24-cv-00397-GTS-CFH Document18 Filed 06/05/24 Pageiofi1

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF NEW YORK

X
SARAH LYNN MALONE,
Plaintiff, Mediation Request
-VS- Case No.: 1:24-CV-397 (GTS/CFH)
STRATEGIC LIMITED PARTNERS, LP & ROY ANDING
Defendants.
X

The Plaintiff requests Ann C. Crowell to act as mediator.

Respectfully submitted:
B eh aN WOnQ

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US. DISTRICT COURT - N.D. OF N.Y.

JUN 05 2024

AT O'CLOCK
John M. Domurad, Clerk - Albany

